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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:08CR137
                                             )
             Plaintiff,                      )
                                             )               MEMORANDUM
             vs.                             )                AND ORDER
                                             )
HARVEY L. LANE,                              )
                                             )
             Defendant.                      )

      This matter is before the Court on the Report and Recommendation (Filing No. 44)

issued by Magistrate Judge Thomas D. Thalken recommending denial of the motions to

suppress (Filing Nos. 34 and 36) filed by the Defendant, Harvey L. Lane. The Defendant

filed a statement of objections to the Report and Recommendation and a supporting brief

(Filing Nos. 53, 56) as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a).

      The Defendant is charged in a three-count Indictment with conspiracy to distribute

and possess with intent to distribute cocaine base (Count I); possession with intent to

distribute cocaine base (Count II); and criminal forfeiture. (Filing No. 1.) The Defendant

seeks the suppression of evidence found in the search of a residence and his statements

made to law enforcement on December 4, 2007.

      Following an evidentiary hearing, Judge Thalken issued oral findings of fact and

conclusions of law followed by a brief Report and Recommendation. He concluded: the

Defendant had no reasonable expectation of privacy in the searched premises and

therefore lacks standing to contest the search; he never objected to the search or the

consent of Ms. Conway, who rented the premises for her brother, Mr. Fielding, and

therefore officers properly searched the residence based on the consent of those parties;

and the Defendant’s statement was voluntary. (Filing No. 48 (“Tr.”), at 45-49.) On the
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basis of these determinations, Judge Thalken recommended that the Defendant‘s motions

to suppress be denied.

                                STANDARD OF REVIEW

      Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a), the Court will make a

de novo determination of those portions of the report, findings, and recommendations to

which the Defendant has objected. The Court may accept, reject, or modify, in whole or

in part, the Magistrate Judge's findings or recommendations. The Court may also receive

further evidence or remand the matter to the Magistrate Judge with instructions.

                                STATEMENT OF FACTS

      Judge Thalken provided an account of the events surrounding the search and the

Defendant’s statements. The Court has considered the transcript of the hearing conducted

by Judge Thalken. (Filing No. 48.) The Court also carefully viewed the evidence. (Filing

No. 43.) Based on the Court’s de novo review of the evidence and arguments, the Court

adopts Judge Thalken’s factual findings in their entirety.

                                        ANALYSIS

      The Defendant objects to the following conclusions in Judge Thalken’s Report and

Recommendation: he lacked standing to contest the search; he failed to object to the two

consents to search; his statement was voluntary.

Standing

      Lane argues that his affidavit shows that he was an overnight guest and had

personal property at the residence and, therefore, he has standing to contest the search.

More specifically, his affidavit states: “prior to December 4, 2007, I was occasionally an



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overnight guest at this residence, most recently on Friday, November 23, 2007; that on

December 4, 2007 I had articles of my clothing at the residence.” (Filing No. 42, Ex. 101.)

       The only evidence of standing are the Defendant’s self-serving statements in his

affidavit. The Defendant was not called to testify, and although the Defendant’s testimony

is not required, no evidence was adduced from the other witnesses and no additional

witnesses or other evidence was produced to support the Defendant’s statements in his

affidavit. Cf. Spinelli v. United States, 382 F.2d 871, 879 (8 th Cir. 1967) (standing was

shown by “inference from the allegations in the indictment, the statements in the affidavit

in support of the search warrant, and the testimony developed at the hearing to suppress”),

rev’d on other grounds, 393 U.S. 410 (1969). The Court concludes that the Defendant has

not satisfied his burden of proving that he has standing to contest the search. The

objection is denied.

Consents to Search

       The Defendant argues that the evidence did not sufficiently show that he was aware

of the consents, and therefore his failure to object to those consents was reasonable.

       The issue regarding knowledge of the consents is beside the point. The Defendant

was inside the apartment during the search, and he never objected to the search. See

United States v. Cantrell,530 F.3d 684, 692 (8th Cir. 2008) (defendant never presented

evidence that he objected to the search where the third-party owner consented to the

search). The objection is denied.




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Voluntariness of Statement

       Lane gave two statements. The first one was exculpatory. He gave his inculpatory

statement after one of the other individuals in the apartment, codefendant Michael Tobin,

stated to all present that the person responsible for the drugs in the apartment ought to

admit to his or her conduct or he would “kick their ass.” (Tr. at 33.) The Defendant argues

that Tobin’s statement resulted in his involuntary statement.

       The evidence includes Lane’s rights advisory form, in which he answered “yes” to

all of the questions. (Filing No. 43, Ex. 1.) Before Lane was spoken to again, at his

request, Officer Davis reminded him that he had waived his rights. Lane then gave his

inculpatory statement. (Tr. 22-23.) Therefore, because the evidence shows that Lane

knowingly and voluntarily waived his rights prior to making the statement in question, the

objection is denied.

       IT IS ORDERED:

       1.     The Magistrate Judge’s Report and Recommendation (Filing No. 44) is

              adopted in its entirety;

       2.     The      Defendant’s   Statement   of   Objections   to   the   Report   and

              Recommendation (Filing No. 53) is denied;

       3.     The Defendant’s Motions to Suppress (Filing No. 34, 36) are denied.

       DATED this 18th day of August, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge



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